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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


     JANE DOE, et. al.,

                          Plaintiffs,

          v.                                  Civil Action No. 3:21-CV-00477

     SCHUYLKILL COUNTY, et. al.,

                          Defendants.


          PLAINTIFFS’ STATEMENT OF UNDISPUTED MATERIAL
        FACTS IN SUPPORT OF PLAINTIFFS’ BRIEF IN OPPOSITION
     TO DEFENDANT BENDER’S MOTION FOR SUMMARY JUDGEMENT

I.     PRE-MAY 2020

          a. GENERAL

       1. Since 2008, Defendant Schuylkill County (hereinafter “Defendant SC”) has
          utilized a Personal Action Request form (hereinafter “a PAR”) as the official
          document for hiring, firing, promoting, and transferring employees, when
          employees resign, and for changes in employees pay. 1

 1
  See Deborah Twigg’s September 30, 2022, Deposition at p. 25:1-26:13, a true
 and correct copy of which is attached hereto as Exhibit P1 (hereinafter “Ex. P1”).
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    2. Anyone who is a supervisor, including Defendant SC’s Administrator and
       Human Resources (hereinafter “HR”), can complete a PAR.2

    3. Once a PAR is completed, it goes to HR for approval and then it is placed on
       the Commissioners meeting agenda. 3

    4. For a PAR to be placed on the agenda, it also requires the approval of the
       Administrator for Defendant SC and the Commissioner Chair. 4

    5. On September 14, 2005, Defendant SC implemented a Conduct and
       Disciplinary Action Policy. 5

    6. On September 14, 2005, Defendant SC’s then Commissioners signed
       approving the implementation of the revised Defendant SC’s Sexual
       Harassment Policy (Policy 2005-18). 6

    7. In March 2007, Defendant SC revised its Physical and Verbal Abuse Policy
       (Policy # 2007-02). 7

    8. On September 25, 2013, Defendant SC’s then Commissioners, including
       Defendant George Halcovage (hereinafter “Defendant Halcovage”), signed
       approving the implementation of the revised Defendant SC’s Sexual
       Harassment Policy (Policy 2005-18). 8

2
  Id.
3
  Id. at p. 31:10-33:22 and 35:13-22.
4
  Id. at p. 35:13-36:4.
5
  See SCDOJRFP 000010-000015, a true and correct copy of which are attached
hereto as Exhibit P2.
6
  See SC 1260-1265, a true and correct copy of which are attached hereto as
Exhibit P3.
See Also, Defendant SC’s 30(b)(6) Designee’s March 30, 2023, Deposition at p.
52:8-53:17, a true and correct copy of which is attached hereto as Exhibit p4
(hereinafter “Ex. P4”).
7
  See SCDOJRFP 000007-000009, a true and correct copy of which are attached
hereto as Exhibit P5.
8
  See SC 1254-1259, a true and correct copy of which are attached hereto as
Exhibit P6 (hereinafter “Ex. P6”).
See Also, Ex. P4 at p. 53:23-55:14.
                                          2
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    9. From at least May of 2012, until March 30, 2023, Defendant SC maintained
       an organizational chart. 9


       b. DEFENDANT GARY BENDER (HEREINAFTER “DEFENDANT
          BENDER”)

    10. Defendant Bender’s employment with Defendant SC began on March 1,
       2006. 10

    11.On March 6, 2006: Defendant Bender signed acknowledging he had
       “received a copy of [Defendant SC’s] ‘Physical and Verbal Abuse Policy,’”
       and he had “reviewed and or received a copy of [Defendant SC’s] ‘Sexual
       Harassment Policy.’” 11

    12. On June 6, 2008, Defendant Bender submitted an incident report to
       Defendant SC’s HR office, in which he reported negative comments, made
       by Defendant SC’s then controller, about his recent promotion and raise, and
       the employee accusing him, Defendant Bender, of lying about a Defendant
       SC employee. 12

    13. Defendant Bender also reported that he felt “used” by the employee who he
       was reporting, “in her ongoing feud with other people in the Courthouse,”
       “that [he] was now being dragged in to the whirlwind,” that he felt

9
  See Zula RFP-002473, a true and correct copy of which is attached hereto as
Exhibit P7.
See Also, Ex. P4 at p. 44:16-45:24.
See Also, Defendant Heidi Zula’s (hereinafter “Defendant Zula”) October 19,
2022, Deposition at p. 45:21-46:24, a true and correct copy of which is attached
hereto as Exhibit P8 (hereinafter “P8”).
10
   See Gary Bender’s Personnel File Documents at p. 1, a true and correct copy of
which is attached hereto as Exhibit P9 (hereinafter “Ex. P9”).
See Also, Defendant Bender’s November 16, 2022, Deposition at p. 13:8-10, a true
and correct copy of which is attached hereto as Exhibit P10 (hereinafter “Ex.
P10”).
11
   See Ex. P9 at p. 2-3.
See Also, Ex. P10 at p. 18:18-20:22.
12
   See Ex. P9 at p. 4.
                                         3
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        “humiliated in that he was forced to defend [his] actions,” that he
        “considered her actions to boarder on verbal abuse” and that it was
        “insulting that a member of management [] at the Courthouse [did] not have
        the right to ask for assistance of other [Defendant SC] employees…”13

     14. On October 9, 2013, Defendant Bender signed acknowledging that he
        “attended [Defendant SC’s] Sexual Harassment Training” in Defendant SC’s
        Board Room and that he received and read [Defendant SC’s] Sexual
        Harassment Policy as revised September 2013.14

     15. No Sexual Harassment Policy acknowledgement forms signed by Defendant
        Bender were produced for the period between October 27, 2006, and
        October 9, 2013, and Defendant Bender could not specifically recall
        attending any Sexual Harassment training between October 2006 and
        October 2013 and testified if he had attended such training, “there would
        have been a form signed for that…” 15

     16. On May 14, 2015, Defendant Bender signed acknowledging that he
        “reviewed and or received a copy of Defendant SC’s ‘Sexual Harassment
        Policy.’” 16

     17. On June 8, 2016, Defendant Bender was promoted to Interim Defendant SC
        Administrator/Director of Economic Development. 17

     18. On September 14, 2016, Defendant Bender was promoted from Interim
        Defendant SC Administrator/Director of Economic Development to County
        Administrator. 18




13
   Id.
14
   See Ex. P9 at p. 5.
See Also, Ex. P10 at p. 26:24-27:18.
15
   See Ex. P10 at p. 26:24-29:22.
16
   See Ex. P9 at p. 6.
17
   See Ex. P9 at p. 7.
18
   See Ex. P9 at p. 8.
                                         4
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     19.On August 28, 2019, Defendant Bender signed acknowledging that he had
        “reviewed and underst[ood] [Defendant SC’s] Sexual Harassment Policy”
        and that he “agreed to abide by the Policy.” 19

     20.No Sexual Harassment Policy acknowledgement forms signed by Defendant
        Bender were produced for the period between May 14, 2015, and August 28,
        2019, and Defendant Bender testified if he had attended such training, “there
        would have been a form signed for that…”20

     21. Prior to May 2020, Defendant Glenn Roth (hereinafter “Defendant Roth”)
        discussed with Defendant Bender the fact that Defendant Halcovage needed
        to be careful with what he says. 21

     22. Prior to May of 2020, Defendant Roth talked to Defendant Bender about
        Defendant Halcovage’s behavior and Defendant Bender indicated he had
        spoken with Defendant Halcovage. 22

     23.On two or three occasions, prior to 2018, Defendant Bender observed Doe
        alone in Defendant Halcovage’s office with the door shut, something
        Defendant Bender thought was inappropriate, and which made another
        employee concerned and uncomfortable. 23

     24. Defendant Bender could not recall if he discussed this with Defendant SC’s
        then HR Director. 24

     25. Defendant Bender did not discuss his observations, Doe being alone in
        Defendant Halcovage’s office, with Doe. 25
19
   See Ex. P9 at p. 9.
20
   See Ex. P10 at p. 26:24-29:22.
21
   See Defendant Glenn Roth’s (hereinafter “Defendant Roth”) September 28,
2022, Deposition at p. 194:14-22, a true and correct copy of which is attached
hereto as Exhibit P11 (hereinafter “Ex. P11”).
22
   Id.
See Also, Defendant Roth’s September 29, 2022, Deposition at p. 434:17-435:7, a
true and correct copy of which is attached hereto as Exhibit P12 (hereinafter “Ex.
P12”).
23
   See Ex. P10 at p. 71:22-79:10.
24
   Id.
25
   See Ex. P10 at p. 81:12-82:6.
                                          5
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     26. A Defendant SC employee informed Defendant Bender that Defendant
        Halcovage had texted her at roughly 2:00 AM, something that made her
        uncomfortable, and Defendant Bender felt was inappropriate, but that the
        employee did not report it sooner because she was worried that Defendant
        Halcovage would fire her. 26

     27. The text message Defendant Halcovage sent this female employee was
        asking why the employee was not having a deck party at her home that
        night. 27

     28. Defendant Bender spoke with Defendant Halcovage about his behavior but
        there were no documented warnings of any type and Defendant Halcovage
        was not asked to submit to any additional training. 28

     29. On another occasion, Defendant Halcovage came into Defendant Bender’s
        office and told Defendant Bender and Doe 3 that he, Defendant Halcovage,
        and someone else were dating. 29

     30. When Defendant Halcovage left Defendant Bender’s office, Defendant
        Bender said to Doe 3 “[y]ou know, someday he’s going to say that in front
        of the wrong person” and Doe 3 agreed. 30

     31. Defendant Bender said this to Doe 3 because he thought Defendant
        Halcovage’s comment was inappropriate, but he did not, at that time, tell
        Defendant Halcovage that or that he, Defendant Halcovage, should be
        careful with what he says or to whom he says things to. 31

     32. Defendant Bender spoke to the HR Director about this incident but did not
        follow up with her to determine if she had spoken with Defendant
        Halcovage. 32


26
   See Ex. P10 at p. 93:11-100:19.
27
   Id.
28
   Id.
29
   Id. at p. 175:11-182:7.
30
   Id.
31
   Id.
32
   Id.
                                          6
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     33. Defendant Bender observed Defendant Halcovage make an inappropriate
        comment, in front of two female employees, insinuating someone perform a
        rectal exam on him, which Defendant Bender thought was inappropriate. 33

     34. Defendant Bender discussed this incident with the HR Director, but he
        never followed up with her to determine if she had spoken with Defendant
        Halcovage about it. 34

     35. Defendant Bender observed Defendant Halcovage engage in other
        inappropriate and unlawful behavior in 2015 when he observed Defendant
        Halcovage ask a female Defendant SC employee to obtain election petition
        signatures for him. 35

     36.During this incident, Defendant Halcovage would not take the female
        employees’ “no” for an answer, which made the employees uncomfortable.
        36



     37. Despite believing Defendant Halcovage’s request was illegal, Defendant
        Bender did not report this to election officials or any law enforcement. 37

     38. Prior to May of 2020 Defendant Bender did not discuss any of Defendant
        Halcovage’s comments or conduct that he was aware of with the other
        Defendant SC Commissioners. 38

        c. PLAINTIFF DOE 4 (HEREINAFTER “DOE 4”)

     39. Doe 4’s employment with Defendant SC began on March 31, 2008. 39


33
   Id. 212:9-214:22.
34
   Id.
35
   Id. at p. 217:21-222:22.
36
   Id.
37
   Id.
38
   Id. at p. 217:3-20.
39
   See Doe 4’s Defendant SC Personnel File Documents at p. 1, a true and correct
copy of which are attached hereto as Exhibit P13 (hereinafter “P13”).
See Also, Doe 4’s January 12, 2023, Deposition at p. 12:20-25, a true and correct
copy of which is attached hereto as Exhibit P14 (hereinafter “P14”).
                                           7
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     40. Doe 4 was hired as a Clerk Typist I in Defendant SC’s Tax Claim Bureau
        office (hereinafter “Tax Claim”). 40

     41. Doe 4 was promoted to Assistant Director of Defendant SC’s Tax Claim
        office, an exempt position, on May 25, 2016. 41

     42. Defendant SC had a “Job Classification” description for the position of Tax
        Claim Bureau Assistant Director at all times Doe 4 held that position. 42

     43. Between at least July 2012 and May 25, 2016, Doe 4 was regarded as a
        hardworking and talented employee, the best resource in the Tax Claim
        office, and deserving of her promotion to the position of Tax Claim
        Assistant Director.43

     44. On May 13, 2019, Defendant Bender completed a PAR for Doe 4’s
        promotion to the position of Interim Assistant Director of Tax
        Assessment/Tax Claim, an exempt position, which was effective on May 16,
        2019. 44

     45. Defendant SC’s Commissioners did not approve the PAR until after its
        effective date. 45

     46. Between May 25, 2016, and May 13, 2019, there were no issues with Doe
        4’s employment performance, she exerted the utmost professionalism and
        dedication, and knowledge required for the positions, and Defendant SC
        employees thought her promotion was a good decision. 46


40
   See Ex. P13 at p. 1.
See Also, Ex. P14 at p. 12:20-25.
41
   See Ex. P13 at p. 2.
42
   See SC 1215-1216, a true and correct copy of which are attached hereto as
Exhibit P15.
See Also, Ex. P4 at p. 113:4-114:2.
43
   See Ex. P11 at p. 96:7-25.
44
   See Ex. P13 at p. 3.
45
   Id.
46
   See Ex. P11 at p. 100:6-13.

                                          8
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   47. On June 10, 2019, as there were no issues with Doe 4’s work performance
      in her role as Interim Assistant Director of Tax Assessment/Tax Claim, Doe
      4’s interim status ended and she was promoted to Assistant Director Tax
      Assessment/Tax Claim, an exempt position. 47

   48. Defendant SC’s Commissioners did not approve the PAR until after its
      effective date. 48

   49. Defendant SC had a “Job Classification” description for the position of
      Assistant Director – Tax Claim/Tax Assessment at all times Doe 4 held that
      position. 49


      b. PLAINTIFF DOE 3 (HEREINAFTER “DOE 3”)

   50. Doe 3’s employment with Defendant SC began on April 18, 2011. 50

   51. Doe 3 was promoted to Tax Claim Director on November 14, 2011. 51

See Also, Declaration of Deb Detweiler at ¶ 45-51, a true and correct copy of
which is attached hereto as Exhibit P16 (hereinafter “Ex. P16”).
See Also, Declaration of Dianne Ruscavage at ¶ 18, a true and correct copy of
which is attached hereto as Exhibit P17 (hereinafter “Ex. P17”).
See Also, Declaration of Tiffany Taylor at ¶ 31-38, a true and correct copy of
which is attached hereto as Exhibit P18 (hereinafter “Ex. P18”).
47
   See Ex. P13 at p. 4.
See Also, Ex. P11 at p. 100:6-21.
See Also, Ex. P16 at ¶ 45-51.
See Also, Ex. P17 at ¶ 18.
See Also, Ex. P18 at ¶ 31-38.
48
   See Ex. P13 at p. 4.
49
   See SC 1217-1218, a true and correct copy of which are attached hereto as
Exhibit P19.
See Also, Ex. P4 at p. 114:7-115:12.
50
   See Doe 3’s Defendant SC Personnel File Documents at p. 1, a true and correct
copy of which is attached hereto as Exhibit P20 (hereinafter “Ex. P20”).
See Also, Doe 3’s January 9, 2023, Deposition at p. at p. 8:23-9:5, a true and
correct copy of which is attached hereto as Exhibit P21 (hereinafter “Ex. P21”).
51
   See Ex. P20 at p. 2.
See Also, Ex. P21 at p. 9:6-13.
                                        9
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     52. Defendant SC maintained a “Job Classification” description for the position
        of Tax Claim Director at all times Doe 3 held that position. 52

     53. Defendant Roth on numerous occasions told Doe 3 that Defendant Bender
        did not like her and said “Don’t make the county administration angry
        because you’ll pay for it.” 53

     54. Between July 2, 2012, and 2015, Doe 3 was regarded as an excellent
        employee, a hard worker, and dedicated to Defendant SC. 54

     55. On May 13, 2019, Defendant Bender completed a PAR for Doe 3’s
        promotion to the position of Interim Chief Assessor/Tax Claim Director, and
        exempt position, which was effective on May 16, 2019. 55

     56.Defendant SC’s Commissioners did not approve the PAR until after its
        effective date. 56

     57.Doe 3 was required to obtain her CPE license before taking on the additional
        role of Chief Assessor. 57

     58. Kent Hatter who replaced Doe 3 as Defendant SC’s Chief Assessor did not
        have his CPE license when he was hired. 58




52
   See SC 419-420, a true and correct copy of which are attached hereto as Exhibit
P22.
See Also, SC 1221-1222, a true and correct copy of which are attached hereto as
Exhibit P23.
See Also, Ex. P4 at p. 117:4-119:13.
53
   See Ex. P21 at p. 12:19-13:23.
54
   See Ex. P21 at p. 66:19-67:23.
55
   See Ex. P20 at p. 3.
56
   See Ex. P20 at p. 3.
57
   See Ex. P21 at p. 78:19-79:20.
58
   See Ex. P21 at p. 80:17-19.
See Also, SC 633, 631, and 634, a true and correct copy of which are attached
hereto as Exhibit P24.
                                          10
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     59. By statute, every Pennsylvania County is required to have a Chief Assessor
        and that Chief Assessor must hold a valid CPE license. 59

     60.Defendant SC’s “Job Classification” description for the position of Chief
        Assessor also requires the person who holds that title to have a CPE license.
        60



     61. On June 18, 2019, Defendant Bender completed a PAR for Doe 3’s
        promotion to the position of Chief Assessor/Tax Claim Director, an exempt
        position, which was effective on July 8, 2019. 61

     62. Defendant SC had a “Job Classification” description for the position of
        Chief Assessor/Director of Tax Claim at all times Doe 3 held that position. 62

     63. Between 2015 and May of 2019, Doe 3 was regarded as a good, hard
        working, and dedicated employee to the point that Defendant Roth thought
        of her as “one of the most, if not the most, talented department head at
        Defendant SC. 63

     64. Prior to May of 2020, Doe 3 was not subject to any discipline by Defendant
         SC. 64
     65.
59
   See Title 53 P.S. Chapter 88 § 8831.
See Also, Defendant Halcovage’s November 3, 2022, Deposition at p. 659:15-21, a
true and correct copy of which is attached hereto as Exhibit P24 (hereinafter “Ex.
P24”).
60
   See SC 619-620, a true and correct copy of which is attached hereto as Exhibit
P25 (hereinafter “Ex. P25”).
61
   See Ex P20 at p. 4.
62
   See SC 1223-1224, a true and correct copy of which are attached hereto as
Exhibit P26.
See Also, Ex. P4 at p. 120:8-121:6.
63
   See Ex. P11 at p. 83:1-84:2 and 86:1-24.
See Also, Ex. P16 at ¶ 45-51.
See Also, Ex. P17 at ¶ 17.
See Also, Ex. P18 at ¶ 31-38.
64
   See Ex. P11 at p. 92:10-93:20 and 146:23-147:12.
See Also, Doe 3’s Declaration at ¶ 1, a true and correct copy of which is attached
hereto as Exhibit 27 (hereinafter “Ex. P27”).
                                          11
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     66. Prior to May of 2020, Doe 3 enhanced the success of the Tax Claim Bureau
        by making the office a better and more efficient office and recouping
        Defendant SC funds through various tax sales, including a judicial sale
        which prior to Doe 3’s supervision Tax Claim had not held for
        approximately 10 years. 65

     67.At all times Doe 3 was Doe 4’s supervisor, Dor 4 never engaged in any
        conduct that warranted discipline. 66


        d. DEFENDANT GEORGE HALCOVAGE (HEREINAFTER
           “DEFENDANT HALCOVAGE”)

     68. Defendant Halcovage was elected Defendant SC Commissioner in
        December of 2011 and took office in January 2012. 67

     69. December 5, 2011: Defendant Halcovage signed a form acknowledging
        “that [he] had reviewed a copy of [Defendant SC’s] ‘Sexual Harassment
        Policy’” and that he had “received a copy of [Defendant SC’s] ‘Physical and
        Verbal Abuse Policy.’” 68

     70. On October 9, 2013, Defendant Halcovage signed a form acknowledging
        that he “attended [Defendant SC’s] Sexual Harassment Training” in
        Defendant SC’s Commissioners’ Board Room and that he received and read
        [Defendant SC’s] Sexual Harassment Policy as revised September 2013. 69

     71. No Sexual Harassment Policy acknowledgment forms signed by Defendant
        Halcovage were produced for the period between January 2012 and October
65
   See Ex. P11 at p. 92:10-93:18 and 146:23-147:4.
66
   See Ex. P27 at ¶ 2.
67
   See Defendant Halcovage’s Defendant SC Personnel File at p. 1-2, a true and
correct copy of which are attached hereto as Exhibit P28 (hereinafter “Ex. P28”).
See Also, Ex. P25 at p. 664:4-17.
68
   See Ex. P28 at p. SC 5-6.
See Also, Defendant Halcovage’s February 7, 2023, deposition at p. 797:5-18, a
true and correct copy of which is attached hereto as Exhibit P29 (hereinafter “Ex.
P29”).
69
   See Ex. P28 at p. 7.
See Also, Ex. P25 at p. 663:1-22.
                                         12
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        9, 2019, and Defendant Halcovage could not recall if he received any Sexual
        Harassment training from Defendant SC prior to October 2013. 70

     72. No Sexual Harassment Policy acknowledgement forms signed by Defendant
        Halcovage were produced after October 9, 2013, until June 22, 2020, and
        Defendant Halcovage testified that he believed every time he participated in
        a training, he signed an acknowledgment form. 71


        e. DEFENDANT GLENN ROTH

     73. On May 2, 2012, Defendant SC’s HR office sent Defendant Roth a letter
        congratulating him on accepting the position of Assistant County Solicitor
        and scheduling his new hire orientation for June 26, 2012. 72

     74. Defendant Roth’s appointment PAR, which was completed by Defendant
        SC’s Solicitor Alvin Marshall, was not approved by Defendant SC’s then
        Commissioners and HR department until June 27, 2012, with an effective
        date of July 2, 2012. 73

     75. At all times Defendant Roth has been employed by Defendant SC, his
        primary duty has been to represent in court, and provide legal advice to,
        Defendant SC’s Tax Assessment office and Tax Claim Bureau. 74




70
   See Ex. P25 at p. 663:24-664:2.
71
   See Ex. P25 at p. 664:12-665:2.
72
   See Defendant Roth’s Defendant SC Personnel File Documents at p. 1-2, a true
and correct copy of which are attached hereto as Exhibit P30 (hereinafter “Ex.
P30”).
See Also, Ex. P11 at p. 15:6-16:13.
73
   See Ex. P30 at p. 3.
See Also, Ex. P11 at p. 22:13-25:4.
74
   See Ex. P11 at p. 32:9-35:2.
See Also, Cnty.Defs.Supp 000078, a true and correct copy of which is attached
hereto as Exhibit P31.
                                          13
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     76. On June 26, 2012, Defendant Roth signed a form acknowledging receipt of
        Defendant SC’s Safety Policy, Physical and Verbal Abuse Policy, and
        Sexual Harassment Policy. 75

     77. On October 9, 2013, Defendant Roth signed a form acknowledging that he
        “attended [Defendant SC’s] Sexual Harassment Training” in Pottsville, PA
        and that he received and read [Defendant SC’s] Sexual Harassment Policy as
        revised September 2013.76

     78. On May 7, 2015, Defendant Roth signed a form acknowledging that he
        “reviewed and or received a copy of the ‘Sexual Harassment Policy.’” 77

     79. On October 20, 2017, Defendant Bender completed a PAR for Defendant
        Roth’s promotion to First Assistant [Defendant SC] Solicitor – Risk
        Manager, which was approved by the then SC Commissioners and effective
        on October 30, 2017. 78

     80. On October 30, 2017, Defendant Roth was promoted to the position of First
        Assistant Solicitor- Risk Manager. 79

     81. On October 10, 2019, Defendant Roth signed a form acknowledging that he
        had “reviewed and underst[ood] [Defendant SC’s] Sexual Harassment
        Policy” and that he “agreed to abide by the Policy.”80

     82. No Sexual Harassment Policy acknowledgement or completion of training
        forms signed by Defendant Roth were produced for the period between May
        7, 2015, and October 10, 2019, and Defendant Roth could only recall two (2)
        in persons trainings, which occurred in 2013 and 2021, and one (1) online
        training, which occurred in 2019. 81
75
   See Ex. P30 at p. 4-6.
See Also, Ex. P11 at p. 27:13-28:15 and 29:19-30:7.
76
   See Ex. P30 at p. 7.
See Also, Ex. P11 at p. 38:10-41:4.
77
   See Ex. P30 at p. 8.
78
   See Ex. P30 at p. 9.
79
   See Ex. P30 at p. 9.
80
   See Ex. P30 at p. 10.
81
   See Ex. P11 at p. 36:4-42:18.

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   83. Between July 2, 2012, and May 2020, Defendant Roth frequented the Tax
      Claim and Tax Assessment offices on an almost, if not daily basis.82

   84. Between July 2, 2012, and May 2020, Defendant Roth did not observe
      Commissioners Staudenmeier and Commissioner Hess in the Tax Claim and
      Tax Assessment offices but did observe Defendant Halcovage in those
      offices frequently and Defendant Halcovage’s purpose for being there did
      not always include business. 83


      f. PLAINTIFF DOE (HEREINAFTER “DOE”)

   85. Doe’s employment with Defendant SC began on March 10, 2014, as a
      temporary per diem office support general employee in Defendant SC’s
      Human Resources (hereinafter “HR”) office. 84

   86. The PAR for Doe’s first appointment with Defendant SC was completed
      and approved by Defendant SC’s then HR Director. 85

   87. Doe was promoted to Real Estate Market Analyst in Defendant SC’s Tax
      Assessment office on March 16, 2015. 86

   88. Defendant SC had a “Job Classification” description for the position of Real
      Estate Market Analyst at all times Doe held that position. 87



See Also, Ex. P30 at p. 10.
The deposition transcript has a typo of “October 10, 2018,” when the document
discussed has a date of “October 19, 2019.”
82
   See Ex. P11 at p. 79:19-80:2.
83
   See Ex. P11 at p. 130:3-134:25.
84
   See Doe’s Defendant SC Personnel File at p. 1, a true and correct copy of which
is attached hereto as Exhibit P32 (hereinafter “Ex. P32”).
85
   See Ex. P32 at p. 1.
86
   See Ex. P32 at p. 6.
87
   See SC 1206-1208, a true and correct copy of which are attached hereto as
Exhibit P33.
See Also, Ex. P4 at p. 109:22-111:3.
                                        15
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     89. Defendant Halcovage’s time in Defendant SC’s Tax Assessment office
        increased in frequency and time after Doe began working in that office. 88

     90.Defendant Halcovage’s visits to the Tax Assessment office would cause Doe
        emotional distress. 89

     91.While Doe worked in Defendant SC’s Tax Assessment office, and before
        May 2019, when Doe 3 became the Chief Assessor and Doe’s supervisor,
        Defendant Halcovage would summon Doe to his office for nothing except to
        see Doe. 90

     92. On April 17, 2020, Defendant SC notified Doe 2 that, as a result of the
        coronavirus (COVID 19), she was being furloughed and not authorized to
        work beginning on April 20, 2020. 91

     93. Prior to May of 2020, Doe was not subject to any discipline by Defendant
        SC. 92




88
   See Ex. P21 at p. 32:1-35:2.
See Also, P16 at ¶ 7-10, 25-34 and 40-41.
See Also, P18 at ¶ 14-21.
89
   See Ex. Doe’s Declaration at ¶ 1, a true and correct copy of which is attached
hereto as Exhibit P34 (hereinafter “Ex. P34”).
See Also, Ex. P21 at p. 32:1-35:2.
See Also, P16 at ¶ 7-10, 28-33 and 40-41.
See Also, P18 at ¶ 14-21.
90
   See Doe’s September 20, 2022, Deposition at p. 111:24-112:4 and 346:9-349:10,
a true and correct copy of which is attached hereto as Exhibit 35 (hereinafter “Ex.
P35”)
See P16 at ¶ 25-34.
91
   See SC 0241-0242, a true and correct copy of which are attached hereto as
Exhibit P36 (hereinafter “Ex. P36”).
92
   See Ex. P34 at ¶ 2.
See Also, Ex. P27 at ¶ 3.
See Also, Doe 4’s Declaration at ¶ 1, a true and correct copy of which is attached
hereto as Exhibit P37 (hereinafter “Ex. P37”).
                                          16
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        g. PLAINTIFF DOE 2 (HEREINAFTER “DOE 2”)

     94. Doe 2’s employment with Defendant SC began on December 1, 2014, in
        Defendant SC’s Treasurer’s office. 93

     95. Doe 2 was promoted on April 22, 2015. 94

     96. Doe 2 was again promoted on April 12, 2017. 95

     97. Doe 2 was transferred to the position of Interim Clerk Typist 1 in Defendant
        SC’s Tax Assessment office on April 2, 2018. 96

     98. Doe 2’s interim status ended on April 16, 2018. 97

     99. On April 1, 2019, Doe 2 was promoted to the position of Interim Field
        Appraiser in Defendant SC’s Tax Assessment office. 98

     100.     Around April of 2019, Doe 2 was walking in the Defendant SC
        Courthouse hallways wearing jeans that had holes in them, when she
        encountered Defendant Halcovage. 99

     101.     Defendant Halcovage proceeded to remark “holy jeans,” and asked
        Doe 2 to “let [him] put [his] finger in one of [your] holes.” 100

     102.     Doe 2 took Defendant Halcovage’s comment to be sexual in nature
        and as if he was asking to put one of his fingers in her vagina. 101


93
   See Doe 2’s Defendant SC Personnel File at p. 1, a true and correct copy of
which is attached hereto as Exhibit P38 (hereinafter “Ex. P38”).
94
   See Ex. P38 at p. 2.
95
   Id. at p. 3.
96
   Id. at p. 4.
97
   Id. at p. 5.
98
   Id. at p. 6.
99
   See Doe 2’s Declaration at ¶ 1, a true and correct copy of which is attached
hereto as Exhibit P39 (hereinafter “Ex. P39”) .
100
    Id. at ¶ 2.
101
    Id. at ¶ 3 .
                                          17
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      103.     When Defendant Bender spoke with Doe 2 about this, she, Doe 2,
         informed Defendant Bender of the sexual comment that Defendant
         Halcovage made to her. 102

      104.     On July 1, 2019, Doe 2 was promoted to Field Appraiser in
         Defendant SC’s Tax Assessment office. 103

      105.     On July 2, 2019, Defendant Bender complimented Doe 2’s job
         performance. 104

      106.      Defendant SC had a “Job Classification” description for the position
         of Field Appraiser at all times Doe 2 held that position. 105

      107.      Prior to May of 2020, Defendant Halcovage said to Defendant Bender
         that he “had [Doe 2] in the clock tower,” that others were spreading this
         rumor, and from that statement one could assume that Defendant Halcovage
         had sex with Doe 2 in the clock tower. 106

      108.      Defendant Bender never discussed Defendant Halcovage’s statement,
         that he “had [Doe 2] in the clock tower,” and the alleged rumors, with Doe
         2. 107

      109.      There would be no reason for Defendant Halcovage to have had Doe 2
         in the clock tower. 108

      110.     On April 17, 2020, Defendant SC notified Doe 2 that, as a result of
         the coronavirus (COVID 19), she was being furloughed and not authorized
         to work beginning on April 20, 2020. 109

102
    Id. ¶ 4.
103
    See Ex. P38 at p. 7.
104
    See Doe Supplemental 000103-000104, a true and correct copy of which are
attached hereto as Exhibit P40.
105
    See SC 1213-1214, a true and correct copy of which are attached hereto as
Exhibit P41.
106
    See Ex. P10 at p. 123:20-125:10.
107
    Id.
108
    Id. at p. 126:22-127:11.
109
    See Ex. P38 at p. 8-9.
                                           18
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        111.      Prior to May of 2020, Doe 2 was not subject to any documented
           discipline by Defendant SC. 110


II.     POST MAY 2020

        112.     On May 21, 2020, Doe 3 forwarded Doe’s email, reporting that she,
           Doe, was “a victim of sexual harassment” and that she had “been
           consistently subjected to a hostile work environment, while employed by
           [Defendant SC],” to Ms. Twigg. 111

        113.     Ms. Twigg had been Defendant SC’s HR Director since January 8,
           2018. 112



        114.       On May 21, 2020, at 5:28 PM, Defendant Halcovage was provided a
           letter regarding notice of representation and a demand for preservation of
           evidence. 113

        115.     Defendant Roth, on behalf of Defendant SC, was provided a letter
           regarding notice of representation and a demand for preservation of evidence
           on May 29, 2020. 114

        116.     Defendant SC’s “Records Manual,” requires that, “[r]ecords involved
           in any litigation must be retained until final disposition of the case even if
           they have met the minimum retention requirements.” 115




  110
      See Ex. P39 at ¶ 5.
  111
      See SC 466, a true and correct copy of which is attached hereto as Exhibit P42.
  112
      See Ms. Twigg’s Defendant SC Personnel File Documents at p. 1, a true and
  correct copy of which are attached hereto as Exhibit P43 (hereinafter “Ex. P43”).
  113
      See Doe Supplemental 000146 and 000138-000144, a true and correct copy of
  which are attached hereto as Exhibit P44.
  114
      See Doe Supplemental 000147-000161, a true and correct copy of which are
  attached hereto as Exhibit P45.
  115
      See Defendant SC’s “Records Manual,” a true and correct copy of which the
  relevant portions are attached hereto as Exhibit P46.
                                              19
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      117.       On May 21, 2020, at 7:38 PM, Defendant Halcovage Facebook
         messaged Doe 2 and asked her to “[g]ive [him] a call whenever,” and to
         “[t]ell everyone hello for [him].” 116

      118.     On May 21, 2020, at 8:43 PM, Defendant Halcovage texted Doe 2,
         “Hi. Was up in the area and stopped by your house and said hello to your
         parents. Surprised that you’re not helping with the landscaping.” 117

      119.    Defendant Halcovage’s visit to Doe 2’s residence was reported to
         Defendant Bender. 118

      120.     On the morning of May 22, 2020, Ms. Twigg informed Defendant
         Bender of Doe 2’s report of sexual harassment and hostile work
         environment. 119

      121.     At 9 AM on May 22, 2021, Defendant Bender called Defendant Roth
         and Defendant Halcovage into his office and informed him of the complaint
         and the seriousness of the allegations. 120

      122.       Defendant Bender provided Defendant Halcovage with a copy of a
         letter that Defendant SC had received directing Defendant Halcovage and
         Defendant SC to preserve records. 121

      123.     Defendant Halcovage denied that anything sexual occurred in the
         Courthouse and admitted to having sex with Doe one time. 122




116
    See Doe Supplemental 002355, a true and correct copy of which are attached
hereto as Exhibit P47.
117
    See Doe Supplemental 004235, a true and correct copy of which is attached
hereto as Exhibit P48.
118
    See Doe Supplemental 000166, a true and correct copy of which is attached
hereto as Exhibit P49.
119
    See SCDOJRFP 000436-000438, a true and correct copy of which are attached
hereto as Exhibit P50 (hereinafter “Ex. P50”).
120
    Id.
121
    Id.
122
    Id.
                                          20
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      124.    Defendant Bender then met with Commissioner Hess, Commissioner
         Heatherington, and the President Judge to advise them of the allegations. 123

      125.     Defendant Bender was present for Ms. Twiggs interview of Doe 2
         regarding Doe’s reports and Doe 2’s own harassment claims. 124

      126.     Defendant Bender thought that Doe 2 seemed authentic and credible.
         125



      127.    Defendant Bender then instructed Ms. Twigg and Defendant Roth to
         conduct the remainder of the investigation. 126

      128.     Between May 22, 2020, and June 23, 2020: Ms. Twigg and Defendant
         Roth investigated the Plaintiffs’ claims, which all Plaintiffs participated and
         during which they, the Plaintiffs, apprised Defendant of the details of the
         discrimination and unlawful conduct to which they had been subjected. 127

      129.     On May 22, 2020, Defendant Halcovage was asked to make himself
         available for an interview that day and he suggested 1 PM, but later
         cancelled and the interview was rescheduled for that Monday, May 25,
         2020. 128




123
    Id.
124
    Id.
125
    Id.
126
    Id.
127
    See Doe Supplemental 000170-000180, a true and correct copy of which are
attached hereto as Exhibit P51 (hereinafter “Ex. P51”).
See also, SCDOJRFP 000551-000560, a true and correct copy of which are
attached hereto as Exhibit P52 (hereinafter “Ex. P52”).
See also, SCDOJRFP 000528-000551, a true and correct copy of which are
attached hereto as Exhibit P53 (hereinafter “Ex. P53”).
See also, Ms. Twigg’s Investigation Notes (Deposition Exhibit 71), a true and
correct copy of which are attached hereto as Exhibit P54 (hereinafter “Ex. P54”).
See also, Ex. P11 at p. 255:1-256:11 and 259:5-8.
128
    See Ex. P50.
                                            21
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      130.      Defendant Halcovage did not show for the Monday, May 25, 2020,
         interview and as a result was not interviewed until June 10, 2020. 129

      131.      On May 28, 2020, Doe 3 sent Ms. Twigg an email stating that she did
         not feel safe in the building with Defendant Halcovage there, nor did she
         feel safe in the parking space assigned to her as she didn’t want Defendant
         Halcovage to have an opportunity to confront her since she had to pass his
         parking space to enter the building. 130

      132.      Doe 4 had similar conversations with Ms. Twigg. 131

      133.      Doe 3 and Doe 4’s parking spaces were not moved from Defendant
         SC’s Commissioners’ lot (aka lower lot) to Defendant SC’s upper lot until
         the first week in June of 2020.132

      134.     On June 24, 2020, Ms. Twigg’s Investigation Report was provided to
         Defendant Bender, Commissioner Heatherington, and Commissioner
         Hess.133

      135.      Defendant Bender’s June 27, 2020, letter also details a list of facts that
         were undisputed and which Defendant Halcovage admitted, such as being
         “in a multi-year sexual relationship with an employee of the Courthouse,”
         which “began during the employee’s first year with [Defendant SC] when
         she was a mailroom clerk,” that the sexual relations, including intercourse,
         “[occurred] at the employees residence on numerous occasions,” at
         Defendant Halcovage’s “residence on one occasion,” and “on a Saturday”
         “in the employee’s work area file room, [when] he asked her to get on her
         knees and then unzipped his fly,” that “he was aware that that this employee
         was wither an alcoholic or had a drinking problem,” and despite this “he
         provided [her] alcohol” “at her residence” and “at his residence,” that he
         would call “the employee on occasions and had her stand on her porch so

129
    Id. at p. 2.
130
    See Ex. P54 at p. 4-5.
131
    See Ex. P37 ¶ 3.
See also, Ex. P1 at p. 110:6-22 and 112:2-114:5.
132
    See Ex. P27 at ¶ 5.
See also, P37 at ¶ 4.
133
    See Ex. P51.
                                             22
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         she could wave at him when he drove by her home,” and that “he would
         park near [her] residence and wait for her to come home.” 134

      136.     Defendant Bender’s letter also states “[w]e also discussed
         accommodations for these employees, including working from home to
         ensure that they are comfortable working for [Defendant SC].” 135

      137.     These discussions did not include any of the Plaintiffs and Doe 3 and
         Doe 4 were never permitted to work from home. 136

      138.     June 30, 2020, Defendant SC’s Office of the County Solicitor issued a
         Press Release, which was drafted by Defendant Roth, that stated “[u]pon
         receipt of the allegations, Cout Administrator [Defendant] Bender
         (“Administrator”) was notified…in accordance with the County’s Policies
         and Procedures.”137

      139.      The Press Release also stated, “After the initial interviews took place,
         the Administrator directed HR and the County’s First Assistant County
         Solicitor/Risk Manager, [Defendant] Roth, Esquire (“RM”) to conduct the
         remainder of the interviews.” 138

      140.       The Press Release also stated, “[w]hile many of the allegations made
         by the Employees were denied by [Defendant] Halcovage, it is apparent,
         based on the [Defendant SC’s] internal investigation, that [Defendant]
         Halcovage has violated the Sexual Harassment Policy #2005-18 (Revised
         September 2013), the Conduct and Disciplinary Action Policy #2005-19;
         and the Physical and Verbal Abuse Policy #2007-02 (Revised March 2007).
         If this investigation involved a [Defendant SC] department head, the
         department head would be suspended immediately pending investigation
         followed by a recommendation of employment termination.” 139


134
    See Ex. P50 at p. 2-3.
135
    Id.
136
    Id.
137
    See Doe 001894-001895, a true and correct copy of which are attached hereto
as Exhibit P55.
138
    Id.
139
    Id.
                                            23
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      141.      Nothing involving the initial investigation, including the investigation
         interview questions and responses, the investigation findings report, the
         press release, or any documentation about discussions had with Defendant
         Halcovage, regarding his conduct, were placed in Defendant Halcovage’s
         Defendant SC personnel file. 140

      142.     On June 26, 2020, Defendant Bender opposed the restrictions Sheriff
         Groody imposed on Defendant Halcovage regarding his access to and
         freedom of movement in the Courthouse. 141

      143.     On July 13, 2020, after a meeting with Defendant Bender,
         Commissioner Heatherington, and Commissioner Hess, Sheriff Groody
         decided to relax his restrictions on Defendant Halcovage. 142

      144.      On July 16, 2020, Doe 3 and Doe 4, by and through their undersigned
         counsel, notified Defendant Roth, Defendant Bender, and Ms. Twigg that
         their offices, Tax Claim and Tax Assessment, were understaffed which was
         impacting their ability to perform their job duties. 143

      145.      The Plaintiffs also, by and through their undersigned counsel,
         requested that Defendant Roth, Defendant Bender, and Ms. Twigg notify
         them of any changes to Defendant Halcovage’s access to the building, as
         Defendant Halcovage’s access significantly impacts them, and his limited
         access would make them much more comfortable reporting to work on a
         daily basis. 144

      146.     On July 16, 2020, Doe 3 and Doe 4 were seated in Doe 4’s vehicle in
         Doe 4’s assigned parking space, in Defendant SC’s Courthouse’s upper
         parking lot, when Defendant Halcovage climbed a steep and dangerous



140
     See Marie Jones, Esq.’s May 2, 2023, email to undersigned counsel, a true and
correct copy of which is attached hereto as Exhibit P62 (hereinafter “Ex. P56”).
141
     See Groody 0003-0004, a true and correct copy of which are attached hereto as
Exhibit P57.
142
     Id.
143 See Doe Supplemental 215, a true and correct copy of which is attached hereto

as Exhibit P58.
144 Id.


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         embankment from Defendant SC’s Courthouse’s lower lot, where he was
         assigned to park. 145

      147.     When Defendant Halcovage arrived at the top of the embankment, he
         emerged from a bushy area one to two spots away from where Doe 3 and
         Doe 4 were parked. 146

      148.     There were other safer alternatives for Defendant Halcovage to use if
         he needed to access Defendant SC’s Courthouse’s main entrance from the
         lower lot. 147

      149.     Defendant Bender, Defendant Roth, and Ms. Twigg were all informed
         of Defendant Halcovage’s act of climbing up the steep and dangerous
         embankment. 148

      150.     On July 21, 2020, Doe 3 and Doe 4, by and through their undersigned
         counsel, notified Defendant Bender, Defendant Roth, and Ms. Twigg about
         Defendant Halcovage’s act of climbing up the steep and dangerous
         embankment. 149


145 See Doe Supplemental 000223, a true and correct copy of which is attached
hereto as Exhibit P59 (hereinafter “Ex. P59”).
See also, Joseph Groody’s February 1, 2023, Deposition at p. 64:8-69:22, a true
and correct copy of which is attached hereto as Exhibit P60 (hereinafter “Ex.
P60”).
See also, Courthouse video surveillance for July 16, 2020, a true and correct copy
of which is attached hereto as Exhibit P61 (hereinafter “Ex. P61”).
146 See Ex. P59.

See also, Ex. P60 at p. 64:8-69:22.
See also, Ex. P61.
See also, Doe 3’s January 10, 2023, Deposition at p. 332:11-336:23, a true and
correct copy of which is attached hereto as Exhibit P62.
See also, Ex. P 14 at p. 332:20-338:25.
147 See Ex. P59.

See also, Ex. P60 at p. 64:8-69:22.
See also, Ex. P61.
148 See Ex. P59.

See also, Ex. P1 at p. 320:2-325:16.
149 See Ex. P59.


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      151.    Defendant Bender never spoke with Doe 3 or Doe 4 about Defendant
         Halcovage’s act of climbing up a steep embankment. 150

      152.      In August of 2020, Plaintiffs each filed Charges of Discrimination
         with the EEOC and copy of the same were emailed to Defendant
         Halcovage’s attorney and Defendant Bender, Defendant Roth, and
         Defendant SC’s attorney. 151

      153.     On August 12, 2020, Doe 3 emailed Defendant Roth and Defendant
         Bender and reminded them that the Tax Assessment office was
         understaffed. 152

      154.    On September 4, 2020, Defendant Kutzler began working at
         Defendant SC as the Director of Human Resources. 153

      155.      On September 4, 2020, Doe and Doe 2, by and through their
         undersigned counsel, requested the supplies necessary to complete their job
         duties and Doe 3 and Doe 4 requested to work from home, or alternatively,
         to work from home a few days a week. 154

      156.     On October 8, 2020, a list of supplies that Doe and Doe 2 needed was
         provided to Defendant SC. 155

150
    See Ex. P27 ¶ 10.
See also, Ex. P37 ¶9.
151 See Undersigned’s August 13, 2020, email, a true and correct copy of which is

attached hereto as Exhibit P63.
See also, Doe Supplemental 000264-000265, a true and correct copy of which is
attached hereto as Exhibit P64.
See also, Undersigned’s August 27, 2023, email, a true and correct copy of which
is attached hereto as Exhibit P65.
152 See Doe Supplemental 000240, a true and correct copy of which is attached

hereto as Exhibit P66.
153 See Defendant Kutzler’s January 25, 2023, deposition at p. 27:21-28:5, a true

and correct copy of which is attached hereto as Exhibit P67.
154 See Doe Supplemental 000283-000284, a true and correct copy of which are

attached hereto as Exhibit P68.
155
    See Doe Supplemental 000349-000350, a true and correct copy of which are
attached hereto as Exhibit P69 (hereinafter “Ex P69”).
                                           26
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      157.     On October 12, 2020, Doe 3 emailed Defendant Kutzler, Defendant
         Bender, Defendant Roth, and others to advise them she encountered
         Defendant Halcovage in the Courthouse, and he was unescorted, as she had
         been advised he was required to do. 156

      158.     Doe 3’s email also advised the recipient that Doe 2 had been
         occasionally coming to the Courthouse to pick up work and that she, Doe 3,
         and Doe 4 need to access other offices at times to complete their work. 157

      159.      On October 15, 2020, Doe 3 emailed Defendant Kutzler, Defendant
         Bender, Defendant Roth, and others to follow up on the contract for the
         employee/contractor in her office whose had continued to work despite her
         contract having expired, something Doe 3 had previously requested be
         addressed and which went unanswered, and that without this employee, and
         the fact that the office went from 10 employees to 3 employees, Doe 3’s
         offices would be unable to complete certain job duties. 158

      160.       Defendant Kutzler testified that this email was Doe 3 communicating
         with her supervisor, Defendant Bender, about what she, Doe 3, needed from
         Defendant SC, that she, Defendant Kutzler, had no knowledge of Defendant
         Bender speaking with Doe 3 about her concerns listed in her October 15,
         2020, email, and she, Defendant Kutzler could understand why Doe 3 would
         feel it was futile to engage with Defendant Bender after he failed to respond
         to Doe 3’s October 15, 2020, email. 159

      161.       On October 20, 2020, a follow up request, for Doe and Doe 2’s
         supplies, was sent to Defendant SC’s attorney, to which Defendant SC’s
         attorney responded, “I am surprised to hear this. I immediately forwarded
         the list of requested supplies to the interim HR director who indicated she
         did not have any particular issue with supplying any of the requested
         supplies. I will follow up and find out where she stands on the issue.” 160

156 See Doe Supplemental 000343, a true and correct copy of which is attached
hereto as Exhibit P70.
157 Id.

158 See Doe Supplemental 000344, a true and correct copy of which is attached

hereto as Exhibit P71.
159 See Ex. P67 at p. 109:17-113:4.

160 See Ex. P69.


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      162.     On October 22, 2020, Doe 3 sent an email to Defendant Bender,
         Defendant Roth, Commissioner Hess, and Commissioner Heatherington,
         about office operations issues/concerns. 161

      163.     Around October 22, 2020, Defendant Bender, Defendant Kutzler and
         Defendant Roth discussed and prepared a contract Addendum for the
         contract employee whose contract had expired and who had requested a pay
         increase without consulting Doe 3 or Doe 4. 162

      164.     Defendant Roth drafted the contract employee’s contract Addendum
         which included additional duties and imposed additional duties on Doe 3 and
         Doe 4. 163

      165.     Defendant Kutzler testified that it was Defendant Bender who decided
         to impose, those additional duties. 164

      166.     Defendant Kutzler testified that given Doe 3’s October 15, 2020,
         email about staffing concerns, it might not have been the appropriate time to
         impose additional duties on Doe 3 and Doe 4. 165

      167.     Doe 3 or Doe 4 were not shown the contract Addendum before it was
         executed, despite, according to Defendant Kutzler, that showing it to them
         would have been the “appropriate course of action.” 166



161 See Doe Supplemental 000352-000353, a true and correct copy of which is
attached hereto as Exhibit P72.
162 See Doe Supplemental 000358-00360, a true and correct copy of which are

attached hereto as Exhibit P73 (hereinafter “Ex. P74”).
See also, Ex. P67 at p. 100:15-151:14.
See also, Doe Supplemental 003138, a true and correct copy of which is attached
hereto as Exhibit P74 (hereinafter “Ex. P74”).
163 See, Ex. P67 at p. 100:15-151:14.

See also, Ex. P74.
See also, Ex. P73.
164 See Ex. P67 at p. 100:15-151:14.

165 See Ex. P67 at p. 100:15-151:14.

166 See Ex. P67 at p. 100:15-151:14.


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      168.      Defendant Kutzler testified that it might not have been the right time
         to require this transfer of knowledge and that she did not consider that Doe
         and Doe 2 were still not set up to work from home, something she maybe
         should have considered.167

      169.     Defendant Bender instructed Defendant Kutzler not to meet with Doe
         3 and Doe 4 about the “transfer of knowledge,” even though according to
         Defendant Kutzler, that was not advisable. 168

      170.      Defendant Bender declined to approve the contract employee’s hourly
         rate of $40 and decided to give the contact employee $35 an hour. 169

      171.      On October 25, 2020, Doe 3 emailed Defendant Bender, Defendant
         Roth, Defendant Kutzler, and others regarding her concerns with the
         contract employee’s contract Addendum and that as a result she, Doe 3, and
         Doe 4 were rescinding their vacation request so that they could ensure that
         the offices responsibilities were timely completed. 170

      172.     On October 26, 2020, Doe reached out to Defendant Kutzler about her
         work from home status and the status of the supplies she needed that still
         had not obtained. 171

      173.     Defendant Kutzler finally reached out to Doe and Doe 2 on October
         27, 2020, regarding their requested supplies. 172

      174.      In her emails to Doe and Doe 2, Defendant Kutzler advised them that
         she had gathered some supplies and that others, including a laptop and
         printer, “were on order.” 173
167
     See Ex. P67 at p. 132:10-134:18.
168
     See Ex. P67 at p. 135:13-136:6.
169 See Ex. P72 at p. 100:15-151:14.

170 Id.

171 See Doe Supplemental 000364-000365 at p. 2, a true and correct copy of which

are attached hereto as Exhibit P75.
172 See Doe 001118-001120 at p. 1, a true and correct copy of which are attached

hereto as Exhibit P76 (hereinafter “Ex. P76”).
See also, Doe Supplemental 000376-000377, a true and correct copy of which are
attached hereto as Exhibit P77.
173 Id.


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      175.      Defendant Kutzler testified that the laptops and printer were not in
         fact “on order” as her email had indicated. 174

      176.     This was Defendant Kutzler’s first communication with Doe and Doe
         2 since her employment with Defendant SC began. 175

      177.      Between October 27, 2020, and the middle of November 2020,
         Defendant SC did not provide Doe and Doe 2 a laptop or a printer to
         complete their job duties from home, and the supplies they had were not
         sufficient for them to perform their job duties from home. 176

      178.    On October 28, 2020, Doe 3 sent an email to Defendant Kutzler,
         Defendant Bender, and others regarding Doe’s access to the Courthouse to
         complete work. 177

      179.     This email went unanswered. 178

      180.      On November 6, 2020, Doe and Doe 3 received an email from the
         State about the delinquency of the STEB reports, which Doe 3 forwarded to
         Defendant Bender, Defendant Kutzler, Defendant Roth, and others, and
         requested assistance in providing Doe with safe access to the Courthouse
         without fear of encountering Defendant Halcovage.179

      181.     This email went unanswered. 180




174
    See Ex. P67 at p. 156:2-4.
175 See Ex. P67 at p. 50:1-10.

176 See Ex. P67 at p. 75:5-76:17.

177 See Doe Supplemental 0000373, a true and correct copy of which is attached

hereto as Exhibit P78.
178 See Ex. P27 at ¶ 12.

179 See Doe Supplemental 000409-000411, a true and correct copy of which is

attached hereto as Exhibit 79.
180 See Ex. P27 at ¶ 14.

See Also, Doe 01126, a true and correct copy of which is attached hereto as
Exhibit P80 (hereinafter “Ex. P80”).
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      182.     Defendant Kutzler testified that Defendant Bender told her not to
         address issues related to STEB and let Doe 3 and Doe 4 figure it out. 181

      183.      On November 12, 2020, Doe 3 emailed Defendant Kutzler, Defendant
         Bender, Defendant Roth, and others, to obtain a copy of the Addendum that
         was approved for a contract employee in her office, and which imposed
         additional duties on Doe 3 and Doe 4, as she had not yet received it. 182

      184.     Doe 3’s November 12, 2020, email also informed the recipients that
         the contract employee was owed approximately $9,200 for work that she
         continued to do despite not being paid and her contract Addendum not being
         signed. 183

      185.      In Doe 3’s November 12, 2020, email she also addressed the fact that
         she had not heard anything regarding her November 9, 2020, email about
         coordinating safe access to the Courthouse for Doe on November 13, 2020,
         so that Doe could complete her STEB submissions. 184

      186.     On November 12, 2020, Doe still did not have a laptop or a printer. 185

      187.     On November 12, 2020, Doe 3 emailed Defendant Bender, Defendant
         Kutzler, Defendant Roth, and others, regarding an encounter with Defendant
         Halcovage and revoicing the Plaintiffs concerns that they do not feel safe in
         the building when Defendant Halcovage was there. 186

      188.     This email went unanswered. 187




181 See Ex. P67 at p. 177:3-179:14.
182 See Doe Supplemental 000414, a true and correct copy of which is attached
hereto as Exhibit P81.
183 Id.

184 Id.

See also, Ex. P80.
185 See Ex. P67 at p. 180:16-181:13.

186 See Doe Supplemental 000415, a true and correct copy of which is attached

hereto as Exhibit P82.
187 See Ex. P27 at ¶ 16.


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      189.     On November 16, 2020, Doe 3 emailed Defendant Kutzler, Defendant
         Bender, Defendant Roth, and others a copy of the “non-compliance letter”
         she had received from the State Tax Equalization Board. 188

      190.     In the body of the email, to which the State’s letter was attached, Doe
         3 requested they come up with a solution to address the issues that were the
         cause of the non-compliance. 189

      191.     This email went unanswered. 190

      192.     On November 23, 2020, Defendant Kutzler responded to Doe and
         informed her that her, Doe, and Doe 2’s work locations were being moved to
         another Defendant SC building, the 410 Building, which would be ready for
         them on November 30, 2020, a decision that Defendant Bender had made.
         191



      193.     The decision to move Doe 2 to the 410 Building was made due to the
         backlog in STEB reports which was not Doe 2’s job responsibility. 192

      194.      At no time prior to assigning Doe and Doe 2 to the 410 Building
         offices did anyone on behalf of Defendant SC consult with any of the
         Plaintiffs. 193

      195.     Doe and Doe 2’s office equipment from the Courthouse was
         eventually moved to their 410 Building offices and similarly could have
         been moved to their homes. 194




188 See Doe Supplemental 000423-000424, a true and correct copy of which are
attached hereto as Exhibit P83.
189 Id.

190 See Ex. P27 at ¶ 18-19.

See Also, Ex. P67 at p. 211:15-215:17.
191 See Doe Supplemental 000441-000442 at p. 1, a true and correct copy of which

is attached hereto as Exhibit P84 (hereinafter “Ex. P84”).
192 See Ex. P67 at p. 242:5-18.

193 See Ex. P67 at p. 227:20-228:22.

194 See Ex. P67 at p. 223:2-22.


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      196.      Defendant Bender testified that if Doe and Doe 2 had not reported
         their concerns, they would not have been moved to the 410 Building. 195

      197.     Defendant Kutzler testified she did not believe it was fair that Doe and
         Doe 2, the victims, had to relocate their workspace as opposed to Defendant
         Halcovage, the perpetrator. 196

      198.      Defendant Kutzler testified that there was an empty office near the
         office Doe 2 was assigned, and behind a door which required key card
         access, which Doe could have been assigned, and it would have made sense
         to put both Doe and Doe 2 behind the door which required keycard access.
         197



      199.     Defendant Halcovage was never asked to work from the 410
         Building. 198

      200.     Doe and Doe 2 were never provided assigned parking for the 410
         Building and their only options were to park at the Courthouse and walk
         down to the 410 Building, which was not reasonable, or pay for parking,
         which Defendant SC would not reimburse them for and something they did
         not have to do prior to reporting Defendant Halcovage in May of 2020. 199

      201.     On November 19, 2020, Defendant Kutzler met with Defendant SC
         Tax Assessment employee, Heather, and Doe 3, after Doe 3 requested
         Heather be permitted to transfer from the Tax Assessment office to the Tax
         Claim office because of the hostile work environment that existed in the Tax
         Assessment office. 200




195See Ex. P10 at p. 362:1-17.
196See Ex. P67 at p. 254:20-255:10.
197 See Ex. P67 at p. 239:14-240:24.

198 See Ex. P25 at p. 555:23-556:1.

199See Ex. P67 at p. 249:17:254:9.

200
    See Doe Supplemental 000477-00479 at ¶¶ 2, a true and correct copy of which
are attached hereto as Exhibit P85 (hereinafter “Ex. P85”).
See also, Ex. P72 at p. 185:21-202:12.
                                           33
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      202.     On November 25, 2020, after Heather filed a union grievance
         regarding the denial of her transfer request, Defendant Kutzler requested to
         meet with Heather to further discuss her, Heather’s, issues and concerns. 201

      203.      On December 3, 2020, while the “reconsideration” of her transfer and
         her union grievance were outstanding, Heather was called into Defendant
         Kutzler’s office to meet with Defendant Kutzler and Defendant Roth and
         Defendant Kutzler told Heather that she had “good news for [her] regarding
         the transfer.” 202

      204.     Defendant Kutzler asked Defendant Roth to sit in on the interviews
         due to the concerns related to the Tax Assessment office. 203

      205.     During this meeting, Defendant Kutzler and Defendant Roth, pursuant
         to Defendant Bender instruction, presented Heather with an affidavit and
         recommended that she sign it. 204

      206.     On December 22, 2020, Heather met with Defendant Kutzler and
         Defendant Roth and attempted to provide them with a declaration related to
         the Affidavit Defendant Roth prepared for her. 205

      207.      On December 22, 2020, Doe 3 emailed Defendant Kutzler and
         informed her that Heather did not provide her declaration until after the
         meeting because she, Heather, felt uncomfortable during the meeting, and
         that Heather was extremely stressed and upset by the position she was put
         in.206

201
     See Ex. P85 at ¶ 2.
See also, Doe 000007-00010 at ¶ 28-34, a true and correct copy of which are
attached hereto as Exhibit P86 (hereinafter “P86”).
202 See Ex. P85 at ¶ 2.

See also, Ex. P86 at ¶ 35-44.
See also, Ex. P67 at p. 185:21-202:12.
203 See Ex. P67 at p. 185:21-202:12.

204 See Ex. P86 at ¶ 35-44.

See also, Ex. P67 at p. 185:21-202:12
205 See Doe Supplemental 000549, a true and correct copy of which is attached

hereto as Exhibit P87.
206 Id.


                                           34
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      208.       After Defendant SC received Heather’s December 22, 2020,
         declaration, Defendant Bender was not happy, expressed frustration, was a
         little loud, and rolled his eyes because Defendant SC could take no action
         against Doe 2. 207

      209.      On December 9, 2020, Defendant Bender sent Defendant Halcovage a
         letter which stated, Defendant SC’s “inten[ds] to gainfully employ [Doe] and
         [Doe 2] at [Defendant SC’s] 410 office building,” and that it was “the
         expectation of [Defendant SC] that [Defendant Halcovage] [would] not
         make any attempt to enter or conduct any aspect of a face-to-face meeting
         with any individuals who are working in that facility.” 208

      210.     Defendant Bender December 9, 2020, letter was sent after Defendant
         Kutzler’s November 23, 2020, email, which indicated that Defendant Bender
         informed Defendant Halcovage that he would be arrested if he attempted to
         gain access to the 410 Building, and December 8, 2020, when Doe and Doe
         2 were set to begin work at the 410 Building. 209

      211.      There is no mention that the Sheriff will arrest Defendant Halcovage
         if he attempts to access the 410 Building in Defendant Bender’s December
         9, 2020, letter. 210

      212.      On December 9, 2020, when Doe and Doe 2 were provided the keys
         to their 410 Building offices they justifiably raised numerous concerns about
         the equipment therein and the cleanliness of the offices and as such, did not
         begin working in the 410 Building offices at that time. 211

207 See Ex. P67 at p. 323:19-326:21.
208
    See SC 00189-00191, a true and correct copy of which is attached hereto as
Exhibit P88 (hereinafter “Ex. P88”).
209
    Id.
See also, Ex. P84 at p.1.
See also, Doe 001137-1140 at p. 4, a true and correct copy of which are attached
hereto as Exhibit P89.
210
    See Ex. P88.
211 See Doe Supplemental 000490, a true and correct copy of which is attached

hereto as Exhibit P90.
See also, Ex. P39 at ¶ 6.

                                           35
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   213.      On December 11, 2020, Defendant Kutzler was notified of the
      Plaintiffs collective time off requests to attend interviews with the Attorney
      General’s office regarding Defendant Halcovage. 212

   214.      Defendant Kutzler conducted research and discussed the Plaintiffs
      paid time off requests with Defendant Bender and it was decided that their
      time off would be unpaid, despite the requests being related to the Attorney
      General’s investigation of Defendant Halcovage. 213

   215.      Defendant SC’s Sexual Harassment Policy that was in place at the
      time stated, “[Defendant SC] will compensate the employee for absences
      from work that were the result of the harassment.” 214

   216.     Defendant Zula began working for Defendant SC as the HR Director
      on January 11, 2021. 215

   217.      Defendant Kutzler, Defendant Roth, and Defendant Bender, as part of
      the interviewing committee, interviewed and narrowed down the applicants
      for the position of HR Director. 216

   218.    Defendant Kutzler and Defendant Bender decided what salary
      Defendant Zula would be offered. 217

See also, Ex. P34 at ¶ 3.
See also, Ex. P67 at p. 267:7-272:10.
212 See Doe Supplemental 000511-000514, a true and correct copy of which are

attached hereto as Exhibit P91 (hereinafter “Ex. P91”).
See also, Doe Supplemental 000493-000494, a true and correct copy of which are
attached hereto as Exhibit P92.
See also, Ex. P67 at p. 273:13-282:24.
213 See Ex. P91.

See Also, Ex. P67 at p. 273:13-282:24.
214
    See Ex. P6 at p. 4.
215 See Zula RFP 000024, a true and correct copy of which is attached hereto as

Exhibit P93 (hereinafter “Ex. P93”).
See Also, Ex. P8 at p. 14:21-24.
216 See Ex. P67 at p. 352:16-356:21.

217 See Ex. P67 at p. 356:23-358:5.

See also, Ex. P8 at p. 20:2-21:1.
                                         36
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      219.    On January 13, 2021, Doe 3 emailed Defendant Kutzler and
         Defendant Roth about an encounter Doe 2 had with Defendant Halcovage.218

      220.     On January 13, 2021, Doe 3 sent Defendant Kutzler a second email
         about the incident and informed her that Doe 2 was filing a police report. 219

      221.     Defendant Kutzler did not speak with Doe 2 and Defendant Roth did
         not prepare an Affidavit for Doe 2 about this incident. 220

      222.     Doe 2 prepared and submitted, to Defendant SC, her own Affidavit
         about the January 13, 2021, incident on January 18, 2021. 221

      223.     Defendant Halcovage and Sheriff Groody allegedly provided written
         statements about the events, but no statements were produced. 222

      224.     On January 15, 2021, at 10:50 AM, Doe 3 emailed Defendant Kutzler
         and Defendant Zula about Defendant Halcovage using the North door
         entrance to the Courthouse, the entrance that the Plaintiffs had been
         informed was the door they should use to avoid contact with Defendant
         Halcovage. 223

      225.      In her email Doe 3 advised Defendant Kutzler and Defendant Zula
         that “in light of [Defendant Halcovage using the North door that day] along
         with what transpired on [January 13, 2021],” the Plaintiffs were “working
         from home until further notice.” 224

218
    See Zula RFP 000320, a true and correct copy of which is attached hereto as
Exhibit P94.
219
    See Doe Supplemental 00576, a true and correct copy of which is attached
hereto as Exhibit P95.
220
    See Ex. P67 at p. 359:5-363:6.
221
    See Doe Supplemental 000579-000580, a true and correct copy of which are
attached hereto as Exhibit P96 (hereinafter “Ex. P96”).
See also, Ex. P4 at p. 86:2-11.
222
    See Ex. P4 at p. 85:11-22.
223
    See Doe Supplemental 000585, a true and correct copy of which is attached
hereto as Exhibit P97.
224
    Id.
                                            37
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      226.     Doe 3 was an exempt employee for whom an “Executive Exemption”
         checklist had been completed and which included having the ability to “set[]
         and adjust[ employees] …hours worked,” “direct[] the work of employees,”
         “handl[e] grievancse and complaints,” “provid[e] safety and security of
         employees,” and “exercise … discretion and independent judgment in
         respect to maters of significance.” 225

      227.     On January 15, 2021, at 4:07 PM, Defendant Zula, on behalf of
         Defendant Bender, sent Doe 3 an email with a letter attached, regarding Doe
         3’s decision to work from home and allow the other Plaintiffs to work from
         home. 226

      228.     Defendant Zula’s email with Defendant Bender’s letter attached was
         sent before Defendant SC had received Doe 2’s Affidavit regarding being
         followed by Defendant Halcovage. 227

      229.     On January 15, 2021, at 4:07 PM, Defendant Zula, on behalf of
         Defendant Bender, sent Doe 3 an email with a letter attached, regarding Doe
         3’s decision to work from home and allow the other Plaintiffs to work from
         home. 228

      230.     Defendant Kutzler, Defendant Bender, nor Defendant Zula spoke with
         Doe 3 and asked her if she had a concern for her employee’s safety. 229




225
     See Doe Supplemental 000596-000601, a true and correct copy of which are
attached hereto as Exhibit P98 (hereinafter “Ex. P98”).
226 See Zula RFP 000324-000326, a true and correct copy of which are attached

hereto as Exhibit P99.
227 Id.

See also, Ex. P96.
228 See Zula RFP 000325-000326, a true and correct copy of which are attached

hereto as Exhibit P100.
229 See Defendant Zula’s October 19, 2022, Deposition at p. 201:24-202:2, a true

and correct copy of which is attached hereto as Exhibit P101 (hereinafter “Ex.
P101”).
                                           38
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      231.     Defendant Kutzler viewed video surveillance of the day and time in
         question, but no video surveillance was produced. 230

      232.      Based on Defendant Kutzler’s review of the video surveillance, she
         determined that Defendant Halcovage was not escorted, as the letter states
         he was, and was potentially in violation of Sheriff Groody’s orders at the
         time. 231

      233.      On January 27, 2021, Defendant Zula sent Doe 3, Doe 4, and
         Defendant Kutzler an email and requested to meet with Doe 3 to discuss the
         “interim” positions in Doe 3’s offices. 232

      234.     On February 5, 2021, Doe 3, Doe 4, Defendant Zula, and Defendant
         Kutzler met to discuss the “interim” positions in Doe 3 and Doe 4’s offices
         and to discuss the operations of the Tax Assessment office. 233

      235.     Prior to February 5, 2021, there were discussions between Defendant
         Bender, Defendant Roth, and Defendant Zula about the operations of the
         Tax Assessment office, restructuring the offices, and removing Doe 3 from
         her position. 234

      236.     On February 8, 2021, Defendant Zula sent Defendant Kutzler an email
         to which a memo was attached regarding Doe 3’s work performance and
         Doe 3’s removal from her position. 235

      237.      In the body of Defendant Zula’s February 8, 2021, Defendant Zula
         stated, “I really struggled with putting this memo together.” 236
230 See Ex. P67 at p. 371:9-375:7.
231 See Ex. P67 at p. 371:9-380:10.

232
     See Zula RFP 000399-000402, a true and correct copy of which are attached
hereto as Exhibit P102.
233 See Zula RFP 000413-00415 at p. 2, a true and correct copy of which are

attached hereto as Exhibit P103 (hereinafter “Ex. P103”).
See also, Defendant Kutzler’s January 26, 2023, Deposition at p. 33:13-21, a true
and correct copy of which is attached hereto as Exhibit P104 (hereinafter “Ex.
P104”).
234 See Ex. P104 at p. 35:18-46:1.

235 See Ex. P103.

236 Id.


                                           39
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      238.     Defendant Zula’s memo indicated that three (3) to four (4) months of
         2020 STEB reports were completed as of the time of the meeting. 237

      239.    At the time Defendant Zula authored this memo, she had never
         worked with an Assessment office or County before, and her only
         knowledge of STEB reports came from her employment with Defendant SC
         which began twenty-eight days prior on January 11, 2021. 238

      240.     Defendant Kutzler testified that in her four (4) months of employment
         she did not gain enough knowledge about the STEB reports and the Tax
         Assessment office to make a determination about their operations and that
         Defendant Zula did not have enough time to really understand what the Tax
         Assessment office did. 239

      241.      Defendant Kutzler testified that Defendant Zula’s memo was not
         entirely accurate as Doe 3 did in fact provided information regarding
         operation staffing issues in the Tax Assessment office and voiced specific
         needs that the Tax Assessment office had that Defendant SC could assist
         them with during the meeting, Defendant SC did not provide additional
         assistance to the Tax Assessment office, and Doe 3 had communicated with
         her direct supervisor, Defendant Bender, regarding the STEB report issue. 240

      242.     By February 12, 2021, four STEB reports were completed and
         uploaded, an additional 3 were completed, and one more was set to be
         completed the next day, which left only four (4) that were outstanding.241

      243.     On February 18, 2021, Doe 3 email Defendant Kutzler and Defendant
         Zula and reiterated her concerns about Doe and Doe 2’s working
         environment and their emotional distress, mentioned the effect Doe’s
         furlough and lack of supplies had on the report submissions, and noted that



237 Id.
238 See Ex. P101 at p. 218:8-219:1.
239 See Ex. P104 at p. 32:1-19.

240
     See Ex. P104 at p. 34:20-46:1.
241
     See Doe Supplemental 000653-006054, a true and correct copy of which are
attached hereto as Exhibit P105.
                                           40
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         ten (10) months had fully approved and the other two were completed but
         needed to be uploaded and approved. 242

      244.      Doe 3’s email also indicated that the completion of the STEB reports
         was done by her and Doe 4, which required they work a combined 81 hours
         of overtime and requested Doe be permitted to work from home for portion
         of her hours. 243

      245.       STEB reports were the responsibility of Doe who was not disciplined,
         at this time, for her failure to timely submit the reports. 244

      246.     On March 12, 2021, Defendant SC was notified that the Plaintiffs
         intended to file supplemental charges of discrimination with the EEOC. 245

      247.    On March 12, 2021, Defendant Zula completed PARs for the
         demotion of Doe 3 and Doe 4. 246

      248.      On March 15, 2021, Defendant Zula emailed Doe 4, and cc’d
         Defendant Kutzler and Defendant Bender, to notify her, Doe 4 that “on
         Wednesday, March 17, 2021, the administration w[ould] be recommending
         to the Board of Commissioners that the Tax Assessment and Tax Claims
         Offices be restructured into separate offices under separate leadership…”
         and that “[d]ue to this recommended restructuring, [Doe 4] would be
         transferred to the position of Deputy Chief Assessor” with a reduce annual
         salary. 247




242
    Id.
243
    Id.
244
    See Ex. P101 at p. 226:7-229:15 and 240:23-241:14.
245
    See Doe Supplemental 000750, a true and correct copy of which is attached
hereto as Exhibit P106.
246
    See SC 0307 and 407, a true and correct copy of which are attached hereto as
Exhibit P107.
See also, Ex. P101 at p. 134:15-19 and 368:23-369:11.
247
    See Zula RFP 000701, a true and correct copy of which is attached hereto as
Exhibit P108.
                                           41
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      249.    Doe 4 was on bereavement leave for the untimely death of her brother
         when she received this email. 248

      250.     On March 16, 2021, Plaintiffs filed Supplemental Charges of
         Discrimination with the EEOC. 249

      251.     On March 16, 2021, Plaintiffs filed the Civil Action Complaint. 250

      252.    On March 17, 2021, the PAR for Doe 3’s demotion was
         recommended to the Salary Boad by Defendant Zula. 251

      253.     Defendant Zula testified she completed the PARs and recommended
         Doe 3 and Doe 4’s demotion per Defendant Bender’s instruction. 252

      254.     Doe 3’s salary was reduced from $68,852.41 to $53,732.36.253

      255.      Doe 3’s job duties significantly changed as a result of the
         restructuring. 254




248
    See Ex. P101 at p. 397:14-398:23.
See also, Zula RFP 000755, a true and correct copy of which is attached hereto as
Exhibit P.
249
    See Doe Supplemental 000774, a true and correct copy of which is attached
hereto as Exhibit P110.
250
    See ECF No. 1.
251
    See Doe Supplemental 000790-000798 at p. 8, a true and correct copy of which
is attached hereto as Exhibit P111.
See also, Ex. P101 at p. 134:15-19, 368:23-369:11, and 399:3-13.
252
    See Ex P8 at p. 399:3-23.
See also, Ex. P101 at p. 134:15-19, 368:23-369:11, and 399:3-13.
253
    See Doe Supplemental 000790-000798 at p. 9, a true and correct copy of which
are attached hereto as Exhibit P112 (hereinafter “Ex. P112”).
See also, Ex. P107 at p. 2.
254
    See SC 1223-1234, a true and correct copy of which are attached hereto as
Exhibit P113.
See also, Ex. P22.
                                            42
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      256.    On March 17, 2021, the PAR for Doe 4’s demotion was
         recommended to the Salary Boad by Defendant Zula. 255

      257.     Doe 4’s salary was reduced from $47,057.28 to $39,727.18.256

      258.      Doe 4’s job duties significantly changed as a result of the
         restructuring. 257

      259.    As result of the restructuring, Doe 3 was no longer Doe, Doe 2, or
         Doe 4’s supervisor. 258

      260.     On April 7, 2021, Defendant SC’s Board of Commissioners voted on
         Defendant Bender’s request to approve a consulting contract with Anthony
         Alu.259

      261.      The contract was for Anthony Alu to provide oversight to the Tax
         Assessment office, provide training to new and existing employees, assist in
         hiring and transition to a new Chief Assessor and to serve as the interim
         Chief Assessor. 260

      262.     Anthony Alu’s contract included that he would be paid an hourly rate
         $40 per hour, the rate that was previously requested and denied for a female
         contract employee in the Tax Assessment office when the office was
         supervised by Doe 3. 261


255
    See Ex. 112 at p. 9.
See also, Ex. P8 at p. 134:15-19, 368:23-369:11, and 399:3-13.
256
     See Ex. P112 at p. 9.
See also, Ex. P107 at p. 1.
257
    See Ex. P119.
See also, SC 1219-1220, a true and correct copy of which is attached hereto as
Exhibit P114 (hereinafter “Ex. P114”).
258
    See Ex. P27 at ¶ 20.
259
    See April 7, 2021, Commissioner Meeting Minutes at p. 9, a true and correct
copy of which are attached hereto as Exhibit P115 (hereinafter “Ex P115”).
260
    Id.
261
    Id.

                                            43
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   263.       Defendant Halcovage and Commissioner Heatherington voted in
      favor of Anthony Alu’s consultation contract and Commissioner Hess voted
      no. 262

   264.      At the April 7, 2021, Commissioners Meeting, Defendant Roth made
      a statement that Defendant SC’s Solicitor’s office determined that there is
      nothing to preclude Defendant Halcovage from voting on the restructuring
      of the Tax Claim and Tax Assessment offices, nor on the Anthony Alu’s
      consultation contract. 263

   265.    In May of 2021, Doe and Doe 2 obtained SVPO Orders against
      Defendant Halcovage. 264

   266.    On May 24, 2021, Kent Hatter was appointed the Chief Assessor for
      Defendant SC. 265

   267.     Kent Hatter did not hold a CPE license as required by Defendant SC’s
      “Job Classification” and Pennsylvania Statute.266

   268.      Plaintiffs were each evaluated and diagnosed with emotional distress
      as a result of what they endured in their work environment. 267



See also, Doe 000001-000006 at ¶ 31-36, a true and correct copy of which is
attached hereto as Exhibit 116.
See also, Ex. P67 at p. 101:5-102:24.
See also, Zula RFP 000898-000899, a true and correct copy of which are attached
hereto as Exhibit P117.
262
     See Ex. P15 at p. 9.
263
     Id.
264 See Doe Supplemental 001085-00192, a true and correct copy of which are

attached hereto as Exhibit P118.
265 See Ex. P24 at p. 1.

266 Id. at p. 3.

See also, Ex. P102 496:12-497:18.
See also, Title 53 P.S. Chapter 88 § 8831.
267
     See Independent Psychological Evaluation Reports for Doe, Doe 2, Doe 3, and
Doe 4, a true and correct copy of which is attached hereto as Exhibit P119.
                                        44
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      269.      Defendant Bender testified that he would have been embarrassed,
         humiliated, and emotionally distressed if he had been subjected to the
         conduct that the Plaintiffs reported Defendant Halcovage subjected them
         to.268

      270.     Defendant Roth testified that if what Doe reported was true, which he
         believed it was, he would feel for Doe emotionally and that what Doe
         reported in her May 2020 interview made him “sick to [his] stomach.” 269

      271.      Defendant Roth testified that being on unpaid indefinite suspension
         for a year with limited communication would emotionally impact someone
         and that he could understand that the indefinite suspension has been
         extremely difficult for Doe 3 and Doe 4. 270

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268
    See Ex. P10 p. 341:16-342:17.
269
    See Ex. P11 at p. 253:22-255:20.
270
    See Ex. P12 at p. 392:6-17.

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